Case: 20-1097 Case
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                                                                                1 ID: 6472230




                    United States Court of Appeals
                                    For the First Circuit

      Nos.   20-1097
             20-1141

                 JOSE PINEDA, on behalf of himself and all others similarly situated;
              JOSE MONTENEGRO, on behalf of himself and all others similarly situated;
              MARCO LOPEZ, on behalf of himself and all others similarly situated; JOSE
                 HERNANDEZ, on behalf of himself and all others similarly situated

                                         Plaintiffs - Appellees

                                                   v.

             SKINNER SERVICES, INC., d/b/a Skinner Demolition; THOMAS SKINNER;
                    DAVID SKINNER; ELBER DINIZ; SANDRO SANTOS

                                        Defendants - Appellants


                                             MANDATE

                                       Entered: January 20, 2022

             In accordance with the judgment of December 30, 2021, and pursuant to Federal Rule of
      Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                                 By the Court:

                                                 Maria R. Hamilton, Clerk


      cc:
      Gregory J. Aceto
      Michael Brandon Cole
      Ian Philip Gillespie
      Nathan P. Goldstein
      Jasper Jacob Groner
      Nicole Hera Horberg Decter
      Paige Walker McKissock
      Carey Shockey
